                                                                                     ✔ Original
                                                                                     u                         u Duplicate Original
AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No.0 1-
   location of the target cellular device with account associated to        )
     IMSI 310260671044146, referred to as the “Target Cellular
     Device.” The service provider for the target cellular device is
                                                                            )
                                T-Mobile.                                   )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                         Eastern   District of            Wisconsin
(identify the person or describe the property to be searched and give its location):
  Please see Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  Please see Attachment B.




         YOU ARE COMMANDED to execute this warrant on or before                              (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. [[u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                    Honorable Nancy Joseph                   .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, thee llater
                                                                                 aatter
                                                                                     e specific date of                                .


Date and time issued:#SP
                                                                                                          Judge’s
                                                                                                          Ju
                                                                                                           udg
                                                                                                             dge’s signat
                                                                                                                   signature
                                                                                                                       atture

City and state:              Milwaukee, WI                                            Honorable Nancy Joseph, U.S. Magistrate Judge
                                                                                                        Printed name and title
                             Case 2:23-mj-01803-NJ Filed 10/05/23 Page 1 of 27 Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                             Case 2:23-mj-01803-NJ Filed 10/05/23 Page 2 of 27 Document 1
                                       ATTACHMENT A


       This warrant authorizes the use of the electronic investigative technique described in

Attachment B to identify the location of the cellular device with account associated to IMSI

310260671044146, whose wireless provider is T-Mobile.


       This Warrant also serves as a Pen Register order under 18 U.S.C. § 3123. The Court makes

the following findings: The account associated to IMSI 310260671044146 is the account to whom

the pen register or trap and trace device is to be attached/applied and who is the subject of the

criminal investigation; The account associated to IMSI 310260671044146 is the account to which

the device is to be attached; and Title 18 U.S.C. § 1951(a), Hobbs Act Robbery, and Title 18 U.S.C.

§ 924(c), Brandishing of a Firearm during a Crime of Violence are the offenses, to which

information relates; and


       The attorney for the government has certified to this Court that the information likely to be

obtained by the installation and use of the pen register or trap and trace device is relevant to an

ongoing criminal investigation by the Federal Bureau of Investigation.




          Case 2:23-mj-01803-NJ Filed 10/05/23 Page 3 of 27 Document 1
                                       ATTACHMENT B

                                 Particular Things to Be Seized
                    with a Cell Site Simulator or Wi-Fi Geolocation Device

       This Warrant authorizes the officers to whom it is directed to determine the location of the

target cellular device by collecting and examining:


   1. radio signals emitted by the target cellular device for the purpose of communicating with

       cellular infrastructure, including towers that route and connect individual

       communications; and

   2. radio signals emitted by the target cellular device in response to signals sent to it by the

       officers;


for a period of thirty (30) days, during all times of day and night. This includes monitoring non-

content signaling and routing information, including all non-content packet switched data, through

the installation and use of a pen register and trap and trace device pursuant to 18 U.S.C. § 3123 by

the Federal Bureau of Investigation. Because the use of the device, a Cell Site Simulator or Wi-Fi

geolocation device, may fall within the definitions of a “pen register” or a “trap and trace device,”

see 18 U.S.C. § 3127(3) & (4), the application and the warrant are designed to comply with the

Pen Register Statute as well as Rule 41. The application therefore includes all information required

for and serves as a pen register application, 18 U.S.C. § 3123(a); similarly, the warrant therefore

includes all the information required for and serves as a pen register order, 18 U.S.C. § 3123(b).


       This warrant does not authorize the interception of any content (telephone, text message,

or internet based). The investigative device may interrupt cellular service of phones or other

cellular devices within its immediate vicinity. Any service disruption to non-target devices will




           Case 2:23-mj-01803-NJ Filed 10/05/23 Page 4 of 27 Document 1
be brief and temporary, and all operations will attempt to limit the interference with such devices.

In order to connect with the Target Cellular Device, the device may briefly exchange signals with

all phones or other cellular devices in its vicinity. These signals may include cell phone identifiers.

The device will not complete a connection with cellular devices determined not to be the Target

Cellular Device, and law enforcement will limit collection of information from devices other than

the Target Cellular Device. To the extent that any information from a cellular device other than

the Target Cellular Device is collected by the law enforcement device, law enforcement will delete

that information, and law enforcement will make no investigative use of it absent further order of

the court, other than distinguishing the Target Cellular Device from all other cellular devices.


       Under this warrant, the cell site simulator / geolocation device shall be transferable to any

changed dialed number subsequently assigned to a device bearing the same ESN, IMSI, or SIM as

the Target Cellular Device; any changed ESN, IMSI, or SIM subsequently assigned the same

dialed number as the Target Cellular Device; or any additional changed dialed number, ESN, IMSI,

or SIM listed to the same subscriber account as the Target Cellular Device.

       The Court finds reasonable necessity for use of the techniques and collection of information

described. See 18 U.S.C. § 3103a(b)(2).


       This warrant does not authorize the seizure of any tangible property. In approving this

warrant, the Court finds reasonable necessity for the seizure of the information described. See 18

U.S.C. § 3103a(b)(2).




           Case 2:23-mj-01803-NJ Filed 10/05/23 Page 5 of 27 Document 1
                                        ATTACHMENT B
                                 Particular Things to Be Seized
                                  from Device Service Provider
       1.      Information about the target cell phone and its location, later referred to collectively

as location information, includes all precision location information, E-911 Phase II data, GPS data,

latitude-longitude data, per call measurement or timing advance data (RTT, True Call, LDBoR, or

equivalent), and real time cell site information for 30 days beginning from the date the warrant

was issued. This includes initiating a signal to determine the location of the target cell phone on

the service provider’s network or with such other reference points as may be reasonably available

and at such intervals and times directed by the government. The information includes monitoring

non-content signaling and routing information, including all non-content packet switched data,

through the furnishing of information, facilities, technical assistance, and the installation and use

of a pen register and trap and trace device pursuant to 18 U.S.C. §§ 3123-3124 by the service

provider and the Federal Bureau of Investigation. Because the request for such location data may

include use of a “pen register” or a “trap and trace device,” see 18 U.S.C. § 3127(3) & (4), the

application and the warrant are designed to comply with the Pen Register Statute as well as Rule

41. The application therefore includes all information required for and serves as a pen register

application, 18 U.S.C. § 3123(a); similarly, the warrant therefore includes all the information

required for and serves as a pen register order, 18 U.S.C. § 3123(b).

       2.      All subscriber and extended subscriber information, handset identifiers, handset

make and model, WI-FI MAC address, and account notes and memos pursuant to Federal Rule of

Criminal Procedure 41 and 18 U.S.C. §2703(c).




            Case 2:23-mj-01803-NJ Filed 10/05/23 Page 6 of 27 Document 1
       3.      Call detail records and data reports with cell site location information for voice,

SMS, MMS, and data connections, originating and destination IP addresses, and per call

measurement or timing advance data (RTT, True Call, LDBoR, or equivalent) for the past thirty

(30) days pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. §2703(c).

       4.      To the extent that the information described is within the possession, custody, or

control of the service provider, the service provider is required to disclose all location information

to the government and provide all technical assistance necessary to accomplish the collection of

the location information unobtrusively and with as little interference as possible.

       5.      This pen register / trap and trace device shall be transferable to any changed dialed

number subsequently assigned to a device bearing the same ESN, IMSI, or SIM as the Target

Cellular Device; any changed ESN, IMSI, or SIM subsequently assigned the same dialed number

as the Target Cellular Device; or any additional changed dialed number, ESN, IMSI, or SIM listed

to the same subscriber account as the Target Cellular Device.

       6.      The government shall compensate the service provider for reasonable expenses

incurred in furnishing such facilities or assistance. Any service provider or representative who

gains access to the information in this warrant shall not disclose the existence of the warrant, order,

or investigation to any third party unless ordered to do so by the Court. Additionally, the agency

requests that all court orders and supporting documents, including the affidavit and search warrant,

be sealed until further order by the Court.

       7.      This warrant does not authorize the seizure of any tangible property. In approving

this warrant, the Court finds reasonable necessity for the seizure of the information described. See

18 U.S.C. § 3103a(b)(2).


                                                  2



            Case 2:23-mj-01803-NJ Filed 10/05/23 Page 7 of 27 Document 1
"zz z   z abLJt)oD\Uz>`ezVz(*lWpz.yz%4L5c@]X6z\fz"uC7gz#8QK+.M4zR;0oi^YE1z 9,Ymz


                                            
                                                                     _z~g[
                                                         /S [.i ~iWy]Ji Wyv iv

              4vg[9S[~y]g[B[S~Wgy]
                                                                              
           G3!+=Y]"NH4#]S/$]EIBF"ITZ];B]"]O%M0&]                      
           CJ]5'?T9]U1(]F)KPD@][]A>"]A] L*QR]                                        ,S [;y #9;7
                                                                              
N_2-qF_Zz_<zrA:zr-h?:qz2:OPvP-iz3:wF2:zxFrAz-22_v[rz-nn_2F-r:3zr_z!$z       
    zi:<:hj:3zr_z-nzrB:z&-k?:sz:STvP-iz:wF2:z'A:z           
      n:hwG2:zdh_wH3:hz=_hzsA:zr-h?:sz2:RPvP-hz3:wI2:zFnz&!_/FP:z           

                                                                                    
        5S][Y[~SppS[vc~W[t[vybmW[~y~SvSy[c~g[ey[t[v~[}[ S [S~WgS~~SvSvY S[vY[~
{[vSpy]{[~n~gS4gS[~[S yvyU[qi[[gSyvg[cppyive{[~ yvy~{~y{[~ 6"AT7,]T2"]F"INBA]BI]"NI6"]T2"
FIBF"I;[]TB]"]N"I2"]A]-6W"]6TN]<BT6BA ]
  >r\T\\\)TXhu\w)

pyWS[Yivg[             0T\w               .i ~iWy] LMMMN
                                                                    KOjOXO yOwOOjOwMMMP g[~[i vyWyvW[Sq[Y 6"AT7,]T2"
F"INBA]BI]"NI6"]T2"]FIBF"I;[]TB]"]N"6\" ]
 >r\T\\\)TXhu\w+

          Dg[US i c~g[ [S~WgvY[~2[YA,~it?Wi 2":]BA"]BI]>BI"
               [iY[vW[y]SW~it[(
                Wyv~SUSvY_i y]W~it[y~yg[~i[t ipp[eSqq{y [ [Y(
               {~y{[~Y[ iev[Y_z~ [ iv[vY[Y_z~ [ y~ [YivWyttiiveSW~it[(
                S{[~ yvyU[S~~[ [Yy~S{[~ yvgyi vpSdpp~[ ~Siv[Y
          Eg[ [S~Wgi ~[pS[YySiyqSiyvy]%
                                                                          
        "GC-$! T                     3yVV)X@yVV\
        "GC-$ X                        +TwZjhjxfT1k\TuZlxfT-ju\y^Ijys\xX\

         Dg[S{{piWSiyvi US [Yyvg[ [`W &
        >r\T\\\TTXh\Z)ajZTj

            ,yviv[Yyvg[SSWg[Y g[[
            .[pS[YvyiW[y] Q R YS -6W"]"XT]"A6A-]T"]8]>BI"]T2A]][N ] ]] i ~[}[ [YvY[~
              #HB,S g[US i y]giWgi  [_z~gyvg[SSWg[Y g[[



                                                                                               3\Th\Kjfh C|\XjTr)f\w  1+6
                                                                                                       I6AT"]A>"]A]T6T<"]

*[ [YyUg[S{{qiWSvivSWWy~YSvW[igg[~[}i~[t[v
                                                           t[v y]2[YA,~it?      U
                                                                                                 U 
                                                                                                 U
                    F080>3=<0                        NF"7,]I"<6<"]"<"TIBA6]>"AN
                                                           7,]
                                                            ,]I"
                                                              I <6<""]"<"TTIIBA
                                                                                 B 6]>"AN


.S[%!
                                                                                                         V-
                                                                                                         V-"N]N6.ATTVI"
                                                                                                         V-"N]N6.ATVI"]

,iSvY S[' 
                 :jrTo\\ K6                                                      3yxyTVr\<TwX7y\|hGC:
                                                                                     3     Vr <      7    h G C : TfkT\7Zf\
                                                                                                                    k       7
                                                                                                       I6AT"]A>"]A]T6T<"]


                    Case 2:23-mj-01803-NJ Filed 10/05/23 Page 8 of 27 Document 1
                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, Heather Wright, being first duly sworn, hereby depose and state as follows:


                           INTRODUCTION AND BACKGROUND


       1.      I make this affidavit in support of an application for a search warrant under Federal

Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c) to authorize law enforcement to employ

electronic investigative techniques, as described in the following attachment, to determine the

location of the target cellular device with account associated to IMSI 310260671044146, referred

to in this affidavit as the “Target Cellular Device.” The service provider for the target cellular

device is T-Mobile. This affidavit is made in support of up to two different search warrants to

locate the phone: 1) by obtaining information from the service provider, e.g., cell site and other

precision location information and/or 2) by utilizing a device that acts as a cell phone tower

sometimes referred to as a Cell Site Simulator or Wi-Fi geolocation device. In addition, because

this request may be construed as a Pen Register / Trap and Trace device or request, the application

for this warrant (which includes this affidavit) is intended to comply with 18 U.S.C. § 3122.


       2.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been

since July of 2010. Since August of 2020, I have been assigned to the FBI’s Milwaukee Area

Violent Crimes Task Force, a multi-jurisdictional law enforcement entity charged with

investigating violations of federal law, including bank robberies, commercial robberies, armed

motor vehicle robberies, and other violent crime matters, as defined under Title 18 of the United

States Code, I have been trained in a variety of investigative and legal matters, including the topics

of Fourth Amendment searches, the drafting of search warrant affidavits, and probable cause. I



            Case 2:23-mj-01803-NJ Filed 10/05/23 Page 9 of 27 Document 1
have participated in criminal investigations, surveillance, search warrants, interviews, and debriefs

of arrested subjects. As a result of this training and investigative experience, I have learned how

and why violent actors typically conduct various aspects of their criminal activities. I have

experience in the investigation, apprehension and prosecution of individuals involved in federal

criminal offenses, the use of cellular devices to commit those offenses and the available technology

that can be used by law enforcement to assist in identifying the users of cellular devices and their

location.


       3.      The facts in this affidavit come from my personal observations, training,

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.


       4.      There is reason to believe the target cellular device is currently located in this

district due to the site of all of the locations related to this investigation, being in the area of

Milwaukee, Wisconsin.


       5.      Based on the facts set forth in this affidavit, there is probable cause to believe that

IMSI 310260671044146 is using the Target Cellular Device. I know from training and experience

that cell phone users normally have their cell telephones with them, so locating a user’s cell phone

will show that user’s location. I believe that locating the Target Cellular Device will constitute and

lead to evidence of federal offenses, Title 18 U.S.C. § 1951(a), Hobbs Act Robbery, and Title 18

U.S.C. § 924(c), Brandishing of a Firearm during a Crime of Violence committed by IMSI

310260671044146.




            Case 2:23-mj-01803-NJ Filed 10/05/23 Page 10 of 27 Document 1
                                          PROBABLE CAUSE


       6.      On February 10, 2023, the Milwaukee Police Department responded to an armed

robbery that had occurred near 5273 N. 27th Street, Milwaukee, at approximately 11:40 A.M. The

victim was identified as a United States Postal carrier, hereinafter referred to as N.M. N.M. stated

that N.M. had been working mail route 88, had parked his mail vehicle near 2626 W. Rhor Avenue,

and walked to the door to deliver the mail. N.M. stated that as he began to approach the residence

of 5273 N. 27th Street from the north, he walked onto the small porch to place mail into the boxes.

N.M. stated that he then observed three subjects come from the backyard (from the west of where

he was) and surrounded him as he was on the porch. N.M. stated that he was somewhat trapped

due to the railings on the porch and the three subjects surrounding him. N.M. stated that he had

the ring of apartment keys in one pocket of his outer most garment and a chain was exposed across

his jacket leading to the Arrow key that was in the opposite pocket of his jacket.

       7.      N.M. described Subject #1 as a black male, approximately 22-27 years old, over

6’0” tall, medium brown complexion, wearing a black ski mask covering his head, face and neck,

with his eyes exposed, aviator sunglasses with plastic frames and gray/black lenses, a black hooded

sweatshirt, dark jeans, unknown shoes, armed with a black Glock 9mm handgun with an extended

magazine. N.M described Subject #2 as a black, male, approximately 22-27 years old, over 6’0”

tall, medium brown complexion, wearing a black ski mask covering his head, face and neck with

his eyes exposed, “beach style” square sunglasses, black hooded sweatshirt, dark blue jeans,

unknown shoes, armed with a black Glock 9mm handgun with a tan extended magazine and switch

attached to the back of the gun. N.M. stated that N.M. knew the term “switch” to be an added part

on a gun that makes the firearm fully automatic. N.M. described Suspect #3 as a black, male,

approximately 22-27 years old, over 6’0” tall, medium brown complexion, wearing a black ski



            Case 2:23-mj-01803-NJ Filed 10/05/23 Page 11 of 27 Document 1
mask covering his head, face and neck, with his eyes exposed, a black hooded sweatshirt, dark

jeans, unknown shoes, armed with a black Glock 9mm handgun with an extended magazine.

       8.       N.M. stated that Suspect #1 was armed with a gun which he held at his side when

he demanded N.M.’s keys. N.M. stated that N.M. stated that he held up his hands while Suspect

#1 grabbed the chain that was exposed outside on his jacket and took N.M. keys. N.M. stated that

Suspect #2 approached him. Suspect #2 then used Suspect #2’s gun to push up the brim of N.M.’s

hat and asked N.M. what else he had. N.M. stated that he told the suspect that he didn’t have

anything else. N.M. stated that Suspect #3 did not say anything to him or touch him, but was armed

with a gun in his waistband and positioned himself with the other two Subjects. N.M. stated that

after the suspects obtained N.M.’s keys, all three suspects fled on foot in the same direction as they

had approached. N.M. stated that he heard car doors opening and a vehicle drive away but he did

not look into the alley to obtain a vehicle description nor which direction they fled.

       9.      A canvas for surveillance video was conducted and Ring video was located at 5248

N. 27th Street as well as surveillance video from 2800 W. Custer Ave. During the collection of the

Ring video, officers were able to observe at 11:41AM, a white 2007-2012, 4 door, Nissan Altima

driving southbound through the alley at a high rate of speed. The vehicle had tinted windows

(including the brow of the front window), a sunroof, side window deflectors, six-spoke aluminum

rims (split spokes), damage to rear passenger bumper/quarter panel, damage to front passenger

quarter panel, dual exhaust, and front and rear unknown registration plates. During a review of the

surveillance video obtained from 2800 W. Custer Avenue, Officers observed the white Nissan

Altima approach the alley at 11:38 A.M., from the west and drive southbound in the alley. Multiple

suspects can be observed exiting the vehicle and proceed towards where the victim was robbed.

The white Nissan continues southbound in the alley following the incident.



            Case 2:23-mj-01803-NJ Filed 10/05/23 Page 12 of 27 Document 1
       10.     On February 13, 2023, at approximately 2:52 p.m., a law enforcement member of

the Milwaukee Area Violent Crimes Task Force (MAVCTF) observed a vehicle matching the

above description driving west on North Avenue from 73rd Street. The vehicle was a 2010 Nissan

Altima 4 door (WI plate AJF-7039). The vehicle subsequently pulled into the Brother’s Plus

Grocery Store located at 4020 W. North Avenue. Task Force Officers (TFOs) observed a thin

black male with shoulder length dreads exit the vehicle’s front passenger door and enter the

business. The subject was wearing a black T-shirt, camouflage pants, and white/black shoes. The

subject then exited the store and re-entered the Altima’s front passenger door. TFO Steven Strasser

obtained a short video of the subject during the course of the surveillance.

       11.     The vehicle was then observed driving to and parking in the rear of 2225 N. 35th

Street. Task Force Officers were able to run the plate and noted that the vehicle listed to ABDI

BABA (dob: 01/01/1998), with an address of 2303 W. Cherry Street. This same vehicle was

observed via a law enforcement camera system at W. Silver Spring Drive and N. Green Bay

Avenue on February 10, 2023, at 11:08 a.m. The robbery occurred on February 10, 2023, at

approximately 11:41 a.m. and is 0.9 miles away from the W. Silver Spring Drive and N. Green

Bay Avenue intersection.

       12.     On August 29, 2023, members of the MAVCTF responded to an armed robbery

complaint of a USPS postal carrier. The victim, hereinafter referred to as D.W., stated that at

approximately 12:20 p.m. that day, he was approached by (5) five armed suspects that demanded

his USPS keys. D.W. stated that he was delivering mail near 1833 W. Galena Street, Milwaukee,

when he observed an older, dirty, white Nissan sedan park south of 1901 W. Galena Street. As D.

W. approached his vehicle, he heard approaching footsteps behind him. D.W. Stated that he heard

one of the subjects tell him “don’t move”. D.W. turned and observed five armed subjects. D.W.



          Case 2:23-mj-01803-NJ Filed 10/05/23 Page 13 of 27 Document 1
described Subject #1 as a black, male, approximately 15-19 years old, approximately 5’08”-5’9”,

slender build, wearing a full black balaclava style mask covering his head, face and neck, and a

black hooded sweatshirt with the hood up. D.W. stated that Subject #1 was armed with a silver-

over-black handgun, described by D.W. as a possible Taurus G2. D.W. described Subject #2 as a

black male, approximately 15-19 years old, approximately 5’08”-5’09”, slender build, wearing a

full black balaclava style mask covering his head, face and neck, and a black hooded sweatshirt

with the hood up. D.W. stated that Subject #2 was armed with a handgun. D.W. described Subject

#3 as a black male, approximately 15-19 years old, approximately 5’08”-5’09”, slender build,

wearing a full black balaclava style mask covering his head, face and neck, and a gray hooded

sweatshirt with the hood up. D.W. stated that Subject #3 was armed with a handgun. D.W.

described Subject #4 as a black male, approximately 15-19 years old, approximately 5’08”-5’09”,

slender build, wearing a full black balaclava style mask covering his head, face and neck, and a

gray hooded sweatshirt with the hood up. D.W. stated that Subject #4 was armed a handgun. D.W.

described Subject #5 as a black male, approximately 15-19 years old, approximately 5’08”-5’09”,

slender build, wearing a full black balaclava style mask covering his head, face and neck, and a

gray hooded sweatshirt with the hood up. D.W. stated that Subject #5 was armed with a handgun.

       13.     D.W. stated that Subject #1 was armed with a silver-over-black gun which was held

pointed at D.W.’s head while standing directly in front of him. D.W. stated that Subject #2 and

Subject #3 approached D.W. and maintained a position directly to his left and right side. D.W.

stated that Subject #2 then demanded D.W.’s keys. D.W. stated that he asked if the subjects wanted

his USPS scanner or his cell phone and the subjects said no, they just wanted his keys. D.W. stated

that Subject #2 then reached over and retrieved the keys off of D.W.’s belt loop on his right side.

D.W. stated that Subject #4 was positioned directly behind Subject #1 and was armed but did not



          Case 2:23-mj-01803-NJ Filed 10/05/23 Page 14 of 27 Document 1
engage with D.W. D. W. stated that Subject #5 was standing with Subject #4 behind Subject #1.

D.W. stated that after Subject #2 took control of D.W.’s keys, Subject #4 retreated to the vehicle.

D.W. stated that shortly after Suspect #4 left, Subject’s #1, #2, #3 and #5 all fled on foot to the

same vehicle which had pulled into the intersection of N. 19th Street and W. Galena Street, facing

northbound. D.W. observed the suspect vehicle as a white Nissan Altima that he estimated was a

late 2000’s model. D.W. was not able to obtain a vehicle registration plate. D.W. stated that the

vehicle was very dirty and needed a car wash.

       14.     Following the reported armed robbery, another USPS postal carrier, hereinafter

D.A., reported to law enforcement that she had been in the area of N. 23rd Street and W. Galena

Street shortly after 12:20 p.m., when a dirty, white, Nissan sedan with extremely dark tinted

windows turned south on N. 23rd Street from W. Galena Street, at a high rate of speed.

       15.     I am aware that 2303 W. Cherry Street is located 0.1 Miles away from the

intersection of N. 23rd Street and W. Galena Street and the route of travel to get to 2303 W. Cherry

Street from N. 23rd and W. Galena would be south on N. 23rd Street. At 3:01 p.m., on August 29,

2023, a drive-by of 2303 W. Cherry Street was done by members of the MAVCTF and the white

Nissan Altima, bearing WI plate AJF-7039 was observed parked on the parking slab of the

residence. It should be noted that the vehicle has extremely dark tinted windows and was

noticeably dirty.

       16.     Also following the robbery, on August 28, 2023, a check of FLOCK and ALPR

vehicle images was done for the Nissan bearing WI plate AJF-7039. The return of the check

included an ALPR hit of the vehicle on August 29, 2023, at 11:04 a.m., in the area of N. 35th and

W. Center Street.




          Case 2:23-mj-01803-NJ Filed 10/05/23 Page 15 of 27 Document 1
       17.     On September 1, 2023, I submitted an affidavit requesting authorization for a search

warrant for information associated with certain cellular towers (“cell towers”) and records

generated by the cellular network that are in the possession, custody, and/or control of T-Mobile,

in the area of: the postal carrier robbery that occurred on August 29, 2023 at 12:20 p.m.; the

registration plate image obtained, via a law enforcement camera systems, of the alleged suspect

vehicle on August 29, 2023 at 11:04 a.m., in the area of N. 35th Street and W. Center Street; and

2303 W. Cherry Street, Milwaukee, at 3:01 p.m. on August 29, 2023. On September 1, 2023, the

Honorable Magistrate Judge Stephan C. Dries authorized the warrant and it was served upon T-

Mobile. On November 15, 2023, writer was able to download the results received via email from

T-Mobile regarding the search warrant return.


       18.     On March 20, 2023, the same information had been previously requested regarding

the postal carrier robbery that occurred on February 10, 2023 at 11:40 a.m., via a search warrant

which was granted by United States Magistrate Judge Stephen C. Dries on the same day. I received

the return from T-Mobile regarding the information requested on March 28, 2023.


       19.     Upon receipt of the results received on November 15, 2023. I was able to compare

the information from both search warrants to the associated requested locations. There appeared

to be a specific IMSI identified, via the return, that was consistent with being in the geographic

areas consistent with and around the report times of the below listed events. An IMSI is identified

as the international Mobile Subscriber Identity which is a number that identifies a single unique

customer in the T-Mobile network. The IMSI is similar to a driver's license in identifying the

single user and is also related to a single telephone number on the network.




          Case 2:23-mj-01803-NJ Filed 10/05/23 Page 16 of 27 Document 1
             x   February 10, 2023, registration plate image obtained, via a law enforcement

                 camera system, at 11:08 a.m., of the 2005 Nissan Altima, bearing Wisconsin

                 registration plate AJF-7039, at W. Silver Spring Drive and N. Green Bay Avenue

                 in Milwaukee.

             x   February 10, 2023 robbery of a postal carrier reported at 11:40 a.m.

             x   August 29, 2023 registration plate image obtained, via a law enforcement camera

                 system, at 11:04 a.m., in the area of 35th and W. Center Street;

             x   August 29, 2023 drive by of 2303 W. Cherry Street at 3:01 p.m. where the 2005

                 Nissan Altima, bearing Wisconsin registration plate AJF-7039, observed parked

                 at the location;


       The IMSI did not have any records in the return or search for the August 29, 2023 postal

carrier armed robbery around 12:20 p.m. The closest record is at approximately 12:26 p.m. in the

area around the address of 2303 W Cherry where the Nissan Altima had been observed. I noted

that these two locations are in close proximity and that a vehicle can travel between the two points

within the approximate 6 minutes.


       20.       Information obtained from this search warrant will be used to attempt to locate the

account associated to IMSI 310260671044146 within the next 30 days.


                 AUTHORIZATION REQUEST & MANNER OF EXECUTION


       21.       I request that the Court issue the proposed search warrant pursuant to Federal Rule

of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c) and 2711.




          Case 2:23-mj-01803-NJ Filed 10/05/23 Page 17 of 27 Document 1
       22.     Because collecting the information authorized by this warrant may fall within the

statutory definitions of a “pen register” or a “trap and trace device,” see 18 U.S.C. § 3127(3) &

(4), this application and the accompanying warrant are intended to comply with requirements set

forth in 18 U.S.C. §§ 3122-3123.


       23.     In my training and experience, I have learned that cellular phones and other cellular

devices communicate wirelessly across a network of cellular infrastructure, including towers that

route and connect individual communications. When sending or receiving a communication, a

cellular device broadcasts certain signals to the cellular tower that is routing its communication.

These signals include a cellular device’s unique identifiers.


       24.     In my training and experience, I have learned that T-Mobile is a company with its

headquarters located within the United States and provides cellular telephone access to the general

public. I also know that providers of cellular telephone service have technical capabilities that

allow them to collect and generate information about the locations of cellular devices to which

they provide service. That information includes (1) E-911 Phase II data, also known as GPS data

or latitude-longitude data, (2) cell-site data, also known as “tower/face information” or cell

tower/sector records, and (3) timing advance or engineering data commonly referred to as per call

measurement data (RTT, True Call, LDBoR, or equivalent). E-911 Phase II data provides

relatively precise location information about the cellular telephone itself, either via GPS tracking

technology built into the phone or by triangulating on the device’s signal using data from several

of the provider’s cell towers. Cell-site data identifies the “cell towers” (i.e., antenna towers

covering specific geographic areas) that received a radio signal from the cellular telephone and, in

some cases, the “sector” (i.e., faces of the towers) to which the telephone connected. These towers




          Case 2:23-mj-01803-NJ Filed 10/05/23 Page 18 of 27 Document 1
are often a half-mile or more apart, even in urban areas, and can be 10 or more miles apart in rural

areas. Furthermore, the tower closest to a wireless device does not necessarily serve every call

made to or from that device.


       25.     To facilitate execution of this warrant, law enforcement may use an investigative

device or devices (sometimes referred to as a Cell Site Simulator or Wi-Fi geolocation device)

capable of broadcasting signals that will be received by the Target Cellular Device or receiving

signals from nearby cellular devices, including the Target Cellular Device. Such a device may

function in some respects like a cellular tower, except that it will not be connected to the cellular

network and cannot be used by a cell phone to communicate with others. The device may send a

signal to the Target Cellular Device and thereby prompt it to send signals that include the unique

identifier of the device. Law enforcement may monitor the signals broadcast by the Target Cellular

Device and use that information to determine the Target Cellular Device’s location, even if it is

located inside a house, apartment, or other building.


       26.     The investigative device may interrupt cellular service of phones or other cellular

devices within its immediate vicinity. Any service disruption to non-target devices will be brief

and temporary, and all operations will attempt to limit the interference with such devices. In order

to connect with the Target Cellular Device, the device may briefly exchange signals with all phones

or other cellular devices in its vicinity. These signals may include cell phone identifiers. The device

will not complete a connection with cellular devices determined not to be the Target Cellular

Device, and law enforcement will limit collection of information from devices other than the

Target Cellular Device. To the extent that any information from a cellular device other than the

Target Cellular Device is collected by the law enforcement device, law enforcement will delete




          Case 2:23-mj-01803-NJ Filed 10/05/23 Page 19 of 27 Document 1
that information, and law enforcement will make no investigative use of it absent further order of

the court, other than distinguishing the Target Cellular Device from all other cellular devices.


       27.     I request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal Procedure

41(f)(3), that the Court authorize the officer executing the warrant to delay notice until 30 days

after the collection authorized by the warrant has been completed. This delay is justified because

there is reasonable cause to believe that providing immediate notification of the warrant may have

an adverse result as defined in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or

user of the target cellular device would seriously jeopardize the ongoing investigation. Such

disclosure would give that person an opportunity to destroy evidence, change patterns of behavior,

notify confederates, and flee from prosecution. See 18 U.S.C. § 3103a(b)(1). There is a reasonable

necessity for the use of the techniques described. See 18 U.S.C. § 3103a(b)(2). As further specified

in the attachment, which is incorporated into the warrant, the proposed search warrant does not

authorize the seizure of any tangible property. See 18 U.S.C. § 3103a(b)(2). Moreover, to the

extent that the warrant authorizes the seizure of any wire or electronic communication (as defined

in 18 U.S.C. § 2510) or any stored wire or electronic information, there is a reasonable necessity

for that seizure. See 18 U.S.C. § 3103a(b)(2).


       28.     I further request the following information from the service provider: the

installation and use of a pen register trap and trace device, all real-time precision location

information, including E-911 Phase II data, GPS data, and latitude-longitude data, real time cell

site information, and per call measurement or timing advance data (RTT, True Call, LDBoR, or

equivalent) beginning 30 days from the date the warrant is issued.




          Case 2:23-mj-01803-NJ Filed 10/05/23 Page 20 of 27 Document 1
         29.     I further request call detail records and data reports (voice, SMS, MMS), including

cell site location information, originating and destination IP addresses, per call measurement or

timing advance data (RTT, True Call, LDBoR, or equivalent) for the past 30 days.


         30.     I further request subscriber and extended subscriber information, handset

identifiers, handset make and model, Wi-Fi MAC address, and account notes and memos for the

target device.


         31.     I further request that the Court authorize execution of the warrant at any time of

day or night, owing to the potential need to locate the target cellular device outside of daytime

hours.


         32.     I further request that the pen register / trap and trace device be transferable to any

changed dialed number subsequently assigned to a device bearing the same ESN, IMSI, or SIM as

the Target Cellular Device; any changed ESN, IMSI, or SIM subsequently assigned the same

dialed number as the Target Cellular Device; or any additional changed dialed number, ESN, IMSI,

or SIM listed to the same subscriber account as the Target Cellular Device.


         33.     I further request that the Court order all documents in support of this application,

including the affidavit and search warrant, be sealed until further order by the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of the

targets of the investigation. Accordingly, there is good cause to seal these documents because their

premature disclosure may seriously jeopardize the investigation. I further request that the Court

order any service provider, or their representatives, not to disclose the existence of this warrant or

investigation unless ordered to do so by the Court.




           Case 2:23-mj-01803-NJ Filed 10/05/23 Page 21 of 27 Document 1
       34.    A search warrant may not be legally necessary to authorize all of the investigative

techniques described. Nevertheless, I submit this warrant application out of an abundance of

caution.




           Case 2:23-mj-01803-NJ Filed 10/05/23 Page 22 of 27 Document 1
                                       ATTACHMENT A


       This warrant authorizes the use of the electronic investigative technique described in

Attachment B to identify the location of the cellular device with account associated to IMSI

310260671044146, whose wireless provider is T-Mobile.


       This Warrant also serves as a Pen Register order under 18 U.S.C. § 3123. The Court makes

the following findings: The account associated to IMSI 310260671044146 is the account to whom

the pen register or trap and trace device is to be attached/applied and who is the subject of the

criminal investigation; The account associated to IMSI 310260671044146 is the account to which

the device is to be attached; and Title 18 U.S.C. § 1951(a), Hobbs Act Robbery, and Title 18 U.S.C.

§ 924(c), Brandishing of a Firearm during a Crime of Violence are the offenses, to which

information relates; and


       The attorney for the government has certified to this Court that the information likely to be

obtained by the installation and use of the pen register or trap and trace device is relevant to an

ongoing criminal investigation by the Federal Bureau of Investigation.




          Case 2:23-mj-01803-NJ Filed 10/05/23 Page 23 of 27 Document 1
                                       ATTACHMENT B

                                 Particular Things to Be Seized
                    with a Cell Site Simulator or Wi-Fi Geolocation Device

       This Warrant authorizes the officers to whom it is directed to determine the location of the

target cellular device by collecting and examining:


   1. radio signals emitted by the target cellular device for the purpose of communicating with

       cellular infrastructure, including towers that route and connect individual

       communications; and

   2. radio signals emitted by the target cellular device in response to signals sent to it by the

       officers;


for a period of thirty (30) days, during all times of day and night. This includes monitoring non-

content signaling and routing information, including all non-content packet switched data, through

the installation and use of a pen register and trap and trace device pursuant to 18 U.S.C. § 3123 by

the Federal Bureau of Investigation. Because the use of the device, a Cell Site Simulator or Wi-Fi

geolocation device, may fall within the definitions of a “pen register” or a “trap and trace device,”

see 18 U.S.C. § 3127(3) & (4), the application and the warrant are designed to comply with the

Pen Register Statute as well as Rule 41. The application therefore includes all information required

for and serves as a pen register application, 18 U.S.C. § 3123(a); similarly, the warrant therefore

includes all the information required for and serves as a pen register order, 18 U.S.C. § 3123(b).


       This warrant does not authorize the interception of any content (telephone, text message,

or internet based). The investigative device may interrupt cellular service of phones or other

cellular devices within its immediate vicinity. Any service disruption to non-target devices will




          Case 2:23-mj-01803-NJ Filed 10/05/23 Page 24 of 27 Document 1
be brief and temporary, and all operations will attempt to limit the interference with such devices.

In order to connect with the Target Cellular Device, the device may briefly exchange signals with

all phones or other cellular devices in its vicinity. These signals may include cell phone identifiers.

The device will not complete a connection with cellular devices determined not to be the Target

Cellular Device, and law enforcement will limit collection of information from devices other than

the Target Cellular Device. To the extent that any information from a cellular device other than

the Target Cellular Device is collected by the law enforcement device, law enforcement will delete

that information, and law enforcement will make no investigative use of it absent further order of

the court, other than distinguishing the Target Cellular Device from all other cellular devices.


       Under this warrant, the cell site simulator / geolocation device shall be transferable to any

changed dialed number subsequently assigned to a device bearing the same ESN, IMSI, or SIM as

the Target Cellular Device; any changed ESN, IMSI, or SIM subsequently assigned the same

dialed number as the Target Cellular Device; or any additional changed dialed number, ESN, IMSI,

or SIM listed to the same subscriber account as the Target Cellular Device.

       The Court finds reasonable necessity for use of the techniques and collection of information

described. See 18 U.S.C. § 3103a(b)(2).


       This warrant does not authorize the seizure of any tangible property. In approving this

warrant, the Court finds reasonable necessity for the seizure of the information described. See 18

U.S.C. § 3103a(b)(2).




          Case 2:23-mj-01803-NJ Filed 10/05/23 Page 25 of 27 Document 1
                                        ATTACHMENT B
                                 Particular Things to Be Seized
                                  from Device Service Provider
       1.      Information about the target cell phone and its location, later referred to collectively

as location information, includes all precision location information, E-911 Phase II data, GPS data,

latitude-longitude data, per call measurement or timing advance data (RTT, True Call, LDBoR, or

equivalent), and real time cell site information for 30 days beginning from the date the warrant

was issued. This includes initiating a signal to determine the location of the target cell phone on

the service provider’s network or with such other reference points as may be reasonably available

and at such intervals and times directed by the government. The information includes monitoring

non-content signaling and routing information, including all non-content packet switched data,

through the furnishing of information, facilities, technical assistance, and the installation and use

of a pen register and trap and trace device pursuant to 18 U.S.C. §§ 3123-3124 by the service

provider and the Federal Bureau of Investigation. Because the request for such location data may

include use of a “pen register” or a “trap and trace device,” see 18 U.S.C. § 3127(3) & (4), the

application and the warrant are designed to comply with the Pen Register Statute as well as Rule

41. The application therefore includes all information required for and serves as a pen register

application, 18 U.S.C. § 3123(a); similarly, the warrant therefore includes all the information

required for and serves as a pen register order, 18 U.S.C. § 3123(b).

       2.      All subscriber and extended subscriber information, handset identifiers, handset

make and model, WI-FI MAC address, and account notes and memos pursuant to Federal Rule of

Criminal Procedure 41 and 18 U.S.C. §2703(c).




            Case 2:23-mj-01803-NJ Filed 10/05/23 Page 26 of 27 Document 1
       3.      Call detail records and data reports with cell site location information for voice,

SMS, MMS, and data connections, originating and destination IP addresses, and per call

measurement or timing advance data (RTT, True Call, LDBoR, or equivalent) for the past thirty

(30) days pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. §2703(c).

       4.      To the extent that the information described is within the possession, custody, or

control of the service provider, the service provider is required to disclose all location information

to the government and provide all technical assistance necessary to accomplish the collection of

the location information unobtrusively and with as little interference as possible.

       5.      This pen register / trap and trace device shall be transferable to any changed dialed

number subsequently assigned to a device bearing the same ESN, IMSI, or SIM as the Target

Cellular Device; any changed ESN, IMSI, or SIM subsequently assigned the same dialed number

as the Target Cellular Device; or any additional changed dialed number, ESN, IMSI, or SIM listed

to the same subscriber account as the Target Cellular Device.

       6.      The government shall compensate the service provider for reasonable expenses

incurred in furnishing such facilities or assistance. Any service provider or representative who

gains access to the information in this warrant shall not disclose the existence of the warrant, order,

or investigation to any third party unless ordered to do so by the Court. Additionally, the agency

requests that all court orders and supporting documents, including the affidavit and search warrant,

be sealed until further order by the Court.

       7.      This warrant does not authorize the seizure of any tangible property. In approving

this warrant, the Court finds reasonable necessity for the seizure of the information described. See

18 U.S.C. § 3103a(b)(2).


                                                  2



            Case 2:23-mj-01803-NJ Filed 10/05/23 Page 27 of 27 Document 1
